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                  UNITED STATES DISTRICT COURT
                            FOR THE
                       DISTRICT OF VERMONT

United States of America,        :
                                 :
                                 :
            v.                   :           Case No. 2:06-CR-16-1
                                 :
Waldo Yago.                     :
                                 :


        MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
                         (Paper 33)

    Defendant Waldo Yago moves to suppress statements he

made following his arrest on September 29, 2005.                He claims

law enforcement agents interrogated him before obtaining a

valid Miranda waiver.      On April 9, 2007, Chief Judge

Sessions referred the motion for a report and

recommendation.     An evidentiary hearing was held on April

19, 2007.     For the reasons set forth below, I recommend that

the Court DENY Yago’s motion.

                          Factual Findings

    On September 29, 2005, Yago was arrested in Berlin,

Vermont for drug trafficking and transported to the Barre

City Police Department.       ATF Special Agent Thomas Jusianiec

and Corporal Jamie Palmisano of the Barre Police Department

were the primary investigators in a joint federal and state
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investigation of firearms and drug trafficking between New

York City and Vermont.       Approximately 30-45 minutes after

Yago’s arrest, Jusianiec and Palmisano joined Yago in an

interview room at the Barre Police station.               Jusianiec

initiated the interview with Yago by describing to him the

history of the joint investigation and its findings to date.

Jusianiec did not ask Yago any questions during his

recitation of the investigation’s history.               Reading from an

ATF issued Miranda card (Gov’t Exhibit 1),               Jusianiec

advised Yago of the Miranda warnings as follows:

    You have the right to remain silent.

    Anything you say can be used against you in court.

    You have the right to consult with an attorney and
    to have them present during questioning.

    If you cannot afford an attorney, one will be
    appointed to represent you prior to any
    questioning.

    Do you understand your rights?

    Are you willing to waive these rights and talk to
    me?

Jusianiec testified that after he asked Yago, “Do you

understand your rights?”, Yago responded, “what can I say, I

fucked up.”   Jusianiec then paused before asking Yago if he

was “willing to waive these rights and talk to [him]?”                  To



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this, Yago stated, “I fucked up.”              Jusianiec repeated the

waiver question and Yago shook his head while repeating, “I

fucked up.”      Unable to get a response to the question of

whether he was willing to waive his rights and talk to him,

Jusianiec ended the interview.

    Palmisano was present during the interview and wrote a

report of the events that evening.              His report indicated

that Yago’s first statement, “what can I say . . .” occurred

after Jusianiec asked whether Yago was willing to waive his

rights and talk to him.           Although Palmisano has a clear

memory of that day, he was not certain that Yago’s first

statement, “what can I say . . .” came after Jusianiec asked

him whether he understood his rights or after the waiver

question.     In addition, Palmisano’s report noted that the

interview concluded because Yago did not sign the waiver.

Palmisano clarified in his testimony that the state-issued

Miranda cards include a signature line for a waiver and that

he had assumed incorrectly in his report that Jusianiec’s

card was the same.           He testified that Vermont law requires

Miranda waivers be recorded and that the Barre Police

Department effectuates that requirement with the Miranda

cards.



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                              Discussion

    Yago requests suppression of his statements to

Jusianiec and Palmisano because he made them without validly

waiving his Miranda rights. (Paper 33).            A threshold issue

for the Court, however, is whether the circumstances

triggered Yago’s Miranda rights to require a valid waiver.

Accordingly, before reaching the waiver issue, the Court

must determine whether Yago was subject to custodial

interrogation.

    “Under Miranda v. Arizona, police may not interrogate a

suspect who has been taken into custody without first

warning the suspect that he has the right to remain silent,

that anything he says can be used against him in a court of

law, that he has the right to the presence of an attorney,

and that if he cannot afford an attorney, one will be

appointed for him prior to any questioning if he so

desires.”   U.S. v. Herbin, No.CRIM.204CR93, 2005 WL 2789047,

at *4 (D.Vt. Oct. 26, 2005)(Sessions, C.J.)(quoting Miranda

v. Arizona, 384 U.S. 436, 479 (1966))(internal quotation

omitted).   The rights enumerated in Miranda are only

available when a defendant is (1) in custody (2) while being

interrogated, known as custodial interrogation.               Dickerson



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v. United States, 530 U.S. 428, 434-35 (2000); Tankleff v.

Senkowski, 135 F.3d 235, 242-43 (2d Cir. 1998).               “[C]ustody

exists for Miranda purposes if a reasonable person in that

position would ‘have felt he or she was not at liberty to

terminate the interrogation and leave.’” Tankleff, 135 F.3d

at 243 (quoting Thompson v. Keohane, 516 U.S. 99, 111

(1995)).    Here, Yago was under arrest and had been

transported to the Barre City Police Department by law

enforcement officers.      Under these circumstances, he was

clearly in custody.

    For Miranda rights to apply, Yago must have also been

subject to police questioning or other “compelling

influences.”     Miranda, 384 U.S. at 478.         Volunteered

statements without police questioning do not trigger Miranda

rights.    Id.

           Confessions remain a proper element in law
           enforcement. Any statement given freely and
           voluntarily without any compelling influences is,
           of course, admissible in evidence. The
           fundamental import of the privilege while an
           individual is in custody is not whether he is
           allowed to talk to the police without the benefit
           of warnings and counsel, but whether he can be
           interrogated . . . Volunteered statements of any
           kind are not barred by the Fifth Amendment and
           their admissibility is not affected by our holding
           today.




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Miranda, 384 U.S. at 478.       Miranda also “does not protect

spontaneous utterances.”       Stanley v. Wainwright, 604 F.2d

379, 382 (5th Cir. 1979); United States v. Buckner, 417 F.

Supp. 2d 240 (S.D.N.Y. 2005) (holding Fifth Amendment right

against self-incrimination was not violated by admission of

spontaneous statements made by defendant prior to any police

questioning).

    Interrogation means questioning reasonably likely to

elicit an incriminating response.          Rhode Island v. Innis,

446 U.S. 291 (1980).      It is not limited, however, to direct

questioning by police.       In Innis, the Supreme Court

explained that Miranda can also apply to the “functional

equivalent” of interrogation, defined as including “any

words or actions on the part of the police (other than those

normally attendant to arrest and custody) that the police

should know are reasonably likely to elicit an incriminating

response from the suspect.”        Innis, 446 U.S. at 301.              Such

actions could include “psychological ploys, such as to

‘posi[t]’ ‘the guilt of the subject,’ to ‘minimize the moral

seriousness of the offense,’ and ‘to cast blame on the

victim or on society.”       Id. at 299 (quoting Miranda, 446

U.S. at 450).



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    Yago contends that he was improperly interrogated after

hearing his Miranda warnings, but before he waived his

rights.   The government argues that the questioning never

amounted to interrogation because Yago’s statements came as

Jusianiec was trying to get through the full recitation of

Yago’s rights and ascertain whether he would waive them.

Moreover, the government contends that Yago’s statements

amounted to an implied waiver of his Miranda rights.

    Once Miranda warnings have been given and a suspect

indicates in any manner that he does not wish to be

interrogated, the police may not question him.               Miranda, 384

U.S. at 473-74; see also Campaneria v. Reid, 891 F.2d 1014,

1021 (2d Cir. 1989) (once an accused in custody

unequivocally invokes the right to remain silent,

interrogation must stop).       "The suspect not the

interrogator, is given control over `the time at which

questioning occurs, the subjects discussed, and the duration

of the interrogation.'"       Campaneria, 891 F.2d at 1021

(quoting Michigan v. Mosley, 423 U.S. 96, 103-04 (1975)).

The police may only resume questioning if the suspect's

right to cut off questioning was "scrupulously honored."

Mosley, 423 U.S. at 103-04.        An exception to the Miranda



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rule “is permitted when the invocation of the right to

remain silent is ambiguous or equivocal.             In such instances,

narrow questions are permitted for the strictly limited

purpose of clarifying an ambiguous request.”              Campaneria,

891 F.2d at 1021; Anderson v. Smith, 751 F.2d 96, 103 (2d

Cir. 1984) ("[W]hen it is unclear whether the suspect has

indeed invoked his rights, the interrogator can ask

questions designed to clarify whether or not the defendant

intends to talk.").

    The key factual dispute in this case is whether Yago’s

first statement was made after Jusianiec asked him if he

understood his rights or after he asked him if he was

willing to waive those rights and discuss the case.                 Yago

conceded at the hearing that if the Court finds that the

first statement was made after Jusianiec asked Yago if he

understood his rights, the statement would not be in

response to interrogation, Miranda would not apply, and no

waiver would be needed to admit Yago’s statement.

    This Court finds Jusianiec’s memory of the timing and

sequence of Yago’s statements more reliable than Palmisano’s

report because Jusianiec was the one reading the warnings.

Moreover, Palmisano testified that the point he wanted to



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convey in his report was that Yago did not waive his Miranda

rights or agree to talk, not the specific timing and

sequence of the statements.           Accordingly, the Court finds

that the first statement, “What can I say . . .” occurred

after Jusianiec asked Yago if he understood his rights.

       However, even assuming Yago’s first statement was in

response to Jusianiec’s waiver question, the statement was

not made in response to interrogation.               The questions fell

within the Miranda exception because they were “designed to

clarify whether or not” Yago wanted to discuss the case and

were not reasonably likely to elicit an incriminating

response.     Innis, 446 U.S. at 301; Anderson, 751 F.2d at

103.    Yago’s first statement, “what can I say, I fucked up,”

did not unequivocally invoke or waive his Miranda rights.

In order to "scrupulously honor" the defendant's rights,

Jusianiec needed more information to clarify whether a

waiver of Miranda existed before proceeding with further

questioning.      United States v. Ramirez, 79 F.3d 298, 304 (2d

Cir. 1996); Campaneria, 891 F.2d at 1021.                   Given the timing

of the questions (immediately after advising Yago of his

rights), Jusianiec was not trying to trick Yago into making

an incriminating statement.           Rather, he was questioning Yago



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for the limited purpose of determining whether he wished to

invoke or waive his Miranda rights.             Accordingly, Jusianiec

was not interrogating Yago when he posed his questions.

Since Yago’s statements were not the product of

interrogation, they should not be suppressed.               The issue of

whether Yago validly waived his Miranda rights is thus moot.

                              Conclusion

    For the reasons set forth above, I recommend that

Yago’s motion to suppress (Paper 33) be DENIED.

    Dated at Burlington, in the District of Vermont, this

27 th day of April, 2007.



                                  /S/ Jerome J. Niedermeier
                                 Jerome J. Niedermeier
                                 United States Magistrate Judge

Any party may object to this Report and Recommendation
within 10 days after service by filing with the clerk of the
court and serving on the magistrate judge and all parties,
written objections which shall specifically identify the
portions of the proposed findings, recommendations or report
to which objection is made and the basis for such
objections. Failure to file objections within the specified
time waives the right to appeal the District Court’s order.
See Local Rules 72.1, 72.3, 73.1; 28 U.S.C. § 636(b)(1);
Fed. R. Civ. P. 72(b), 6(a) and 6(e).




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